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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA


                                      CIVIL MINUTES – GENERAL

 Case No.    LA CV21-05612 JAK (JEMx)                                          Date        October 13, 2021
 Title       Edward R. Roybal, Jr. v. Crystal Torres, et al.




 Present: The Honorable           JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                   T. Jackson                                               Not Reported
                  Deputy Clerk                                      Court Reporter / Recorder
          Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                    Not Present                                              Not Present


 Proceedings:            (IN CHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL FOR LACK
                         OF PROSECUTION AS TO CRYSTAL TORRES, OSCAR ACEVEDO,
                         RAMON MIRAMONTES

The Court, on its own motion, orders Plaintiff to show cause in writing no later than October 20, 2021,
why this action should not be dismissed for lack of prosecution. In the absence of showing good cause,
an action shall be dismissed if the summons and complaint have not been served within 90 days after
the filing of the complaint pursuant to Fed. R. Civ. P. 4(m). In light of the filing date of July 10, 2021,
proof(s) of service were due by October 10, 2021. An action may also be dismissed prior to such
time if the Plaintiff fails diligently to prosecute the action. The Order to Show Cause will stand submitted
upon the filing of an appropriate response. No oral argument will be heard unless otherwise ordered by
the Court. Plaintiff is advised that the Court will consider the filing of a responsive pleading to the
complaint and/or proof(s) of service, which indicates proper service in full compliance with the federal
rules, on or before the date upon which the response is due, as a satisfactory response to the Order to
Show Cause.

IT IS SO ORDERED.




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                                                            Initials of Preparer      TJ




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